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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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       ROBERT GEORGE HOGARTH,
 10                                               Case No. 5:21-cv-1497-DSF (MAR)
                       Petitioner,
 11                v.
 12                                               JUDGMENT
       MERRICK GARLAND, ET AL.,
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                                Respondents.
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             Pursuant to the Memorandum and Order Denying Motion for Temporary
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       Restraining Order and Dismissing the Petition, IT IS HEREBY ADJUDGED that
 17
       this action is DISMISSED with prejudice.
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       DATED: September 14, 2021
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                                            Honorable Dale S. Fischer
 21                                         UNITED STATES DISTRICT JUDGE
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